B6 Summary (Official Form 6 - Summary) (12/07)


         }
         b
         k
         1
         {
         F
         o
         r
         m
         6
         .
         S
         u
         a
         y
         f
         c
         h
         e
         d
         l
         s




                                                           United States Bankruptcy Court
                                                                         District of Arizona
 In re          DOUGLAS MARC LANDAY,                                                                        Case No.     2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                     ,
                                                                                   Debtors                  Chapter                       7




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF         ASSETS                 LIABILITIES                 OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                          0.00


B - Personal Property                                     Yes             4                     6,644.63


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             1                                           255,213.00


E - Creditors Holding Unsecured                           Yes             2                                                 0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             15                                          186,889.00
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             2                                                                        2,750.00
    Debtor(s)

J - Current Expenditures of Individual                    Yes             3                                                                        7,233.28
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                31


                                                                    Total Assets                6,644.63


                                                                                      Total Liabilities               442,102.00




               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                          Desc
                                                              Main Document
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 1 of 58                                              Best Case Bankruptcy
Form 6 - Statistical Summary (12/07)


         }
         e
         b
         k
         r
         {
         t
         1
         a
         i
         F
         n
         o
         L
         m
         6
         .
         l
         S
         s
         c
         d
         R
         u
         y
         D
         f
         C




                                                           United States Bankruptcy Court
                                                                            District of Arizona
 In re           DOUGLAS MARC LANDAY,                                                                                Case No.   2:13-bk-03572
                 NOELLE LYNNE LANDAY
                                                                                                          ,
                                                                                       Debtors                       Chapter                     7


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                   Amount

             Domestic Support Obligations (from Schedule E)                                                       0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                                  0.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

             Student Loan Obligations (from Schedule F)                                               113,374.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                  0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                  0.00

                                                                              TOTAL                   113,374.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                        2,750.00

             Average Expenses (from Schedule J, Line 18)                                                      7,233.28

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                         2,248.42


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                     255,213.00

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                                  0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                           0.00

             4. Total from Schedule F                                                                                                186,889.00

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                            442,102.00




                Case 2:13-bk-03572-RJH                        Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                               Desc
                                                              Main Document
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 2 of 58                                                     Best Case Bankruptcy
B6A (Official Form 6A) (12/07)


         }
         b
         k
         1
         {
         S
         c
         h
         e
         d
         u
         l
         A
         -
         R
         a
         P
         r
         o
         p
         t
         y




 In re        DOUGLAS MARC LANDAY,                                                                          Case No.    2:13-bk-03572
              NOELLE LYNNE LANDAY
                                                                                                ,
                                                                             Debtors
                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                   Nature of Debtor's           Wife,     Debtor's Interest in              Amount of
              Description and Location of Property                 Interest in Property         Joint, or  Property, without               Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption

SINGLE FAMILY RESIDENCE: 1101 E. MARLETTE                          FEE SIMPLE                       C                          0.00               255,213.00
AVE. PHOENIX, AZ 85014




                                                                                                 Sub-Total >                  0.00         (Total of this page)

                                                                                                        Total >               0.00
 0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
             Case 2:13-bk-03572-RJH                            Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                           Desc
                                                               Main Document
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                                Page 3 of 58                                              Best Case Bankruptcy
B6B (Official Form 6B) (12/07)


         }
         k
         b
         {
         1
         S
         c
         h
         e
         d
         u
         l
         B
         -
         P
         r
         s
         o
         n
         a
         p
         t
         y




 In re         DOUGLAS MARC LANDAY,                                                                              Case No.       2:13-bk-03572
               NOELLE LYNNE LANDAY
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        CASH                                                              C                             10.00

2.    Checking, savings or other financial                BANK OF AMERICA PERSONAL CHECKING                                 C                             91.68
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                  BANK OF AMERICA PERSONAL SAVINGS                                  C                               4.71
      thrift, building and loan, and                      ACCOUNT
      homestead associations, or credit
      unions, brokerage houses, or                        BANK OF AMERICA BUSINESS CHECKING                                 C                             33.24
      cooperatives.                                       ACCOUNT

                                                          BANK OF AMERICA PERSONAL CHECKING                                 W                             25.00
                                                          ACCOUNT

                                                          BANK OF AMERICA PERSONAL SAVINGS                                  W                               0.00
                                                          ACCOUNT

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    HOUSEHOLD GOODS AND FURNISHINGS: COUCH,                           C                         3,195.00
      including audio, video, and                         CHAIR, COFFEE TABLE, END TABLE, DINING
      computer equipment.                                 ROOM TABLE AND 4 CHAIRS AND BENCH, STOVE,
                                                          REFRIGERATOR, FREEZER, DISHWASHER,
                                                          CLOTHES DRYER, WASHING MACHINE, VACUUM,
                                                          TELEVISION, 4 BEDS, 2 NIGHT STANDS, LAMPS,
                                                          BEDDING

                                                          HOUSEHOLD GOODS AND FURNISHINGS: COUCH                            C                             30.00

5.    Books, pictures and other art                       MISC PICTURES AND WALL DECOR                                      C                             40.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and                     MISC BOOKS AND MAGAZINES                                          C                             30.00
      other collections or collectibles.

6.    Wearing apparel.                                    DEBTORS WARDROBE                                                  H                            300.00

                                                          DEBTORS WARDROBE                                                  W                            300.00

7.    Furs and jewelry.                                   WEDDING RING                                                      H                            200.00


                                                                                                                            Sub-Total >             4,259.63
                                                                                                                (Total of this page)

  3    continuation sheets attached to the Schedule of Personal Property
              Case 2:13-bk-03572-RJH                          Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                Desc
                                                              Main Document
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 4 of 58                                                     Best Case Bankruptcy
B6B (Official Form 6B) (12/07) - Cont.




 In re         DOUGLAS MARC LANDAY,                                                                              Case No.       2:13-bk-03572
               NOELLE LYNNE LANDAY
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption
                                                          WEDDING RING                                                      W                            500.00

                                                          MISC COSTUME JEWELRY                                              C                             30.00

                                                          WATCH                                                             H                             20.00

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   NOELLE LANDAY LLC- INNOVATIVE COUNSELING                          C                       Unknown
    and unincorporated businesses.                        GROUP
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.



                                                                                                                            Sub-Total >               550.00
                                                                                                                (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property
              Case 2:13-bk-03572-RJH                          Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                Desc
                                                              Main Document
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 5 of 58                                                     Best Case Bankruptcy
B6B (Official Form 6B) (12/07) - Cont.




 In re         DOUGLAS MARC LANDAY,                                                                              Case No.       2:13-bk-03572
               NOELLE LYNNE LANDAY
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                X
    other vehicles and accessories.

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                    COMPUTER AND PRINTER                                              H                            120.00
    supplies.
                                                          OFFICE: 2 CHAIRS, 2 SOFAS, LAMPS, COFFEE                          C                         1,500.00
                                                          TABLE, MAGAZINE RACK, SOFA, DESK, 2 CHAIRS,
                                                          SMALL END TABLE

                                                          COMPUTER AND PRINTER                                              W                            150.00




                                                                                                                            Sub-Total >             1,770.00
                                                                                                                (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property
              Case 2:13-bk-03572-RJH                          Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                Desc
                                                              Main Document
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 6 of 58                                                     Best Case Bankruptcy
B6B (Official Form 6B) (12/07) - Cont.




 In re         DOUGLAS MARC LANDAY,                                                               Case No.        2:13-bk-03572
               NOELLE LYNNE LANDAY
                                                                                      ,
                                                                     Debtors
                                          SCHEDULE B - PERSONAL PROPERTY
                                                            (Continuation Sheet)

                                            N                                                            Husband,        Current Value of
              Type of Property              O             Description and Location of Property            Wife,     Debtor's Interest in Property,
                                            N                                                             Joint, or   without Deducting any
                                            E                                                           Community Secured Claim or Exemption

29. Machinery, fixtures, equipment, and     X
    supplies used in business.

30. Inventory.                              X

31. Animals.                                    1 DOG                                                         C                             50.00

32. Crops - growing or harvested. Give      X
    particulars.

33. Farming equipment and                   X
    implements.

34. Farm supplies, chemicals, and feed.     X

35. Other personal property of any kind         MISC. HAND TOOLS                                              C                             15.00
    not already listed. Itemize.




                                                                                                             Sub-Total >                  65.00
                                                                                                 (Total of this page)
                                                                                                                  Total >             6,644.63
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                         (Report also on Summary of Schedules)
             Case 2:13-bk-03572-RJH                            Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                 Desc
                                                               Main Document
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                                Page 7 of 58                                      Best Case Bankruptcy
 B6C (Official Form 6C) (4/10)


          E
          }
          x
          b
          e
          k
          m
          1
          p
          {
          t
          S
          c
          h
          d
          u
          l
          C
          -
          P
          r
          o
          y
          a
          i
          s




  In re         DOUGLAS MARC LANDAY,                                                                                   Case No.         2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                           ,
                                                                                        Debtors
                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                         Value of                 Current Value of
                  Description of Property                                          Each Exemption                             Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Real Property
SINGLE FAMILY RESIDENCE: 1101 E.                                          Ariz. Rev. Stat. § 33-1101(A)                          150,000.00                                 0.00
MARLETTE AVE. PHOENIX, AZ 85014

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
BANK OF AMERICA PERSONAL CHECKING                 Ariz. Rev. Stat. § 33-1126A9                                                         300.00                             91.68

Household Goods and Furnishings
HOUSEHOLD GOODS AND FURNISHINGS:                                          Ariz. Rev. Stat. § 33-1123                                 8,000.00                         3,195.00
COUCH, CHAIR, COFFEE TABLE, END TABLE,
DINING ROOM TABLE AND 4 CHAIRS AND
BENCH, STOVE, REFRIGERATOR, FREEZER,
DISHWASHER, CLOTHES DRYER, WASHING
MACHINE, VACUUM, TELEVISION, 4 BEDS, 2
NIGHT STANDS, LAMPS, BEDDING

Wearing Apparel
DEBTORS WARDROBE                                                          Ariz. Rev. Stat. § 33-1125(1)                                500.00                           300.00

DEBTORS WARDROBE                                                          Ariz. Rev. Stat. § 33-1125(1)                                500.00                           300.00

Furs and Jewelry
WEDDING RING                                                              Ariz. Rev. Stat. § 33-1125(4)                              1,000.00                           200.00

WEDDING RING                                                              Ariz. Rev. Stat. § 33-1125(4)                              1,000.00                           500.00

WATCH                                                                     Ariz. Rev. Stat. § 33-1125(6)                                200.00                             20.00

Office Equipment, Furnishings and Supplies
OFFICE: 2 CHAIRS, 2 SOFAS, LAMPS, COFFEE                                  Ariz. Rev. Stat. § 33-1130(1)                              1,500.00                         1,500.00
TABLE, MAGAZINE RACK, SOFA, DESK, 2
CHAIRS, SMALL END TABLE

COMPUTER AND PRINTER                                                      Ariz. Rev. Stat. § 33-1130(1)                                150.00                           150.00

Animals
1 DOG                                                                     Ariz. Rev. Stat. § 33-1125(3)                              1,000.00                             50.00




                                                                                                           Total:                 164,150.00                          6,306.68
    0     continuation
               Case sheets attached to Schedule of Property
                       2:13-bk-03572-RJH             Doc 12 Claimed as Exempt
                                                                  Filed  03/26/13                  Entered 03/26/13 20:19:29                                 Desc
                                                                Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                                             Page 8 of 58                                                     Best Case Bankruptcy
 B6D (Official Form 6D) (12/07)


          }
          e
          b
          c
          k
          u
          1
          r
          {
          S
          d
          h
          C
          l
          a
          i
          m
          s
          D
          -
          t
          o
          H
          n
          g




  In re         DOUGLAS MARC LANDAY,                                                                                      Case No.     2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                            ,
                                                                                             Debtors
                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                             O    N   I
                                                        D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                          B   W           NATURE OF LIEN, AND                           I    Q   U                             PORTION, IF
                                                        T   J         DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                            O                                                             G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                          SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No. xxxxxxxxx9236                                       Opened 1/01/11 Last Active 7/17/12                         E
                                                                                                                           D

Chase                                                           First Mortgage
10790 Rancho Bernardo Rd
San Diego, CA 92127                                           SINGLE FAMILY RESIDENCE: 1101 E.
                                                            C MARLETTE AVE. PHOENIX, AZ 85014

                                                                Value $                                   0.00                          194,768.00               194,768.00
Account No. xxxxxxxx9263                                        Opened 5/01/05 Last Active 1/25/13

Chase                                                           Second Mortgage
Po Box 901039
Fort Worth, TX 76101                                          SINGLE FAMILY RESIDENCE: 1101 E.
                                                            C MARLETTE AVE. PHOENIX, AZ 85014

                                                                Value $                                   0.00                            60,445.00                60,445.00
Account No.




                                                                Value $
Account No.




                                                                Value $
                                                                                                                   Subtotal
 0
_____ continuation sheets attached                                                                                                      255,213.00               255,213.00
                                                                                                         (Total of this page)
                                                                                                                     Total              255,213.00               255,213.00
                                                                                           (Report on Summary of Schedules)
               Case 2:13-bk-03572-RJH                           Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                          Desc
                                                                Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                                 Page 9 of 58                                                              Best Case Bankruptcy
B6E (Official Form 6E) (4/10)


         }
         n
         b
         s
         k
         e
         1
         c
         {
         u
         S
         r
         h
         d
         P
         l
         i
         o
         E
         t
         -
         y
         C
         a
         m
         H
         g
         U




 In re         DOUGLAS MARC LANDAY,                                                                                               Case No.            2:13-bk-03572
               NOELLE LYNNE LANDAY
                                                                                                                     ,
                                                                                               Debtors
                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
              Case 2:13-bk-03572-RJH                           Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                                    Desc
                                                              Main Document
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                                Page 10 of 58                                                                         Best Case Bankruptcy
 B6E (Official Form 6E) (4/10) - Cont.




  In re         DOUGLAS MARC LANDAY,                                                                                    Case No.     2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                           ,
                                                                                            Debtors
                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                (Continuation Sheet)
                                                                                                                    Taxes and Certain Other Debts
                                                                                                                     Owed to Governmental Units
                                                                                                                                 TYPE OF PRIORITY
                                                       C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                           O                                                            O    N   I                      AMOUNT NOT
                                                       D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                          E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                         B   W
                                                                   AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                    OF CLAIM
          AND ACCOUNT NUMBER                           T   J                                                        N    U   T                                AMOUNT
                                                       O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                       R   C                                                        E    D   D
                                                                                                                    N    A
                                                                                                                                                              PRIORITY
                                                                                                                    T    T
Account No.                                                    TAXES                                                     E
                                                                                                                         D

ARIZONA DEPARTMENT OF
REVENUE                                                                                                                                             0.00
PO BOX 29085
                                                           C
Phoenix, AZ 85038

                                                                                                                                            0.00                     0.00
Account No.                                                    TAXES

INTERNAL REVENUE SERVICE
PO BOX 1301                                                                                                                                         0.00
Charlotte, NC 28201
                                                           C

                                                                                                                                            0.00                     0.00
Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                            Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                 (Total of this page)                0.00                     0.00
                                                                                                                    Total                           0.00
                                                                                          (Report on Summary of Schedules)                  0.00                     0.00
              Case 2:13-bk-03572-RJH                           Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                      Desc
                                                               Main Document
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                                Page 11 of 58                                                        Best Case Bankruptcy
 B6F (Official Form 6F) (12/07)


          }
          n
          b
          s
          k
          e
          1
          c
          {
          u
          S
          r
          h
          d
          N
          o
          l
          p
          F
          i
          -
          C
          t
          y
          a
          m
          H
          g
          U




  In re         DOUGLAS MARC LANDAY,                                                                                     Case No.        2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                               ,
                                                                                             Debtors

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxxxxxxxx0001                                                    Opened 7/01/03 Last Active 5/20/05                            T   T
                                                                                                                                                E
                                                                              Educational                                                       D

Aes/natl Col
Po Box 2641                                                               W
Harrisburg, PA 17105

                                                                                                                                                                            0.00
Account No. xxxxxxxxxxxx5815                                                  Opened 10/01/95 Last Active 1/09/13
                                                                              CreditCard
Bank Of America
Po Box 982235                                                             C
El Paso, TX 79998

                                                                                                                                                                      6,072.00
Account No. xxxxx9410                                                         Opened 7/01/11 Last Active 7/03/12
                                                                              Automobile
Bank Of The West
2527 Camino Ramon                                                         C
San Ramon, CA 94583

                                                                                                                                                                            0.00
Account No. xxxxx0674                                                         Opened 1/01/11 Last Active 8/23/11
                                                                              Automobile
Bank Of The West
2527 Camino Ramon                                                         C
San Ramon, CA 94583

                                                                                                                                                                            0.00

                                                                                                                                        Subtotal
 14 continuation sheets attached
_____                                                                                                                                                                 6,072.00
                                                                                                                              (Total of this page)




               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29 Desc
                                                              Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 12 of 58          S/N:43523-121129 Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




  In re         DOUGLAS MARC LANDAY,                                                                               Case No.    2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxxx8552                                                  Opened 10/20/95 Last Active 7/29/10                     E
                                                                              CreditCard                                              D

Bk Of Amer
Po Box 982235                                                             C
El Paso, TX 79998

                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx4202                                                  Opened 10/01/00 Last Active 12/10/12
                                                                              CreditCard
Capital 1 Bank
Attn: Bankruptcy Dept.                                                    C
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                          2,214.00
Account No. xxxxxxxxxxxx1590                                                  Opened 10/01/01 Last Active 12/07/12
                                                                              CreditCard
Capital 1 Bank
Attn: Bankruptcy Dept.                                                    C
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                          1,464.00
Account No. xxxxxxxxxxxx1251                                                  Opened 7/01/01 Last Active 2/25/11
                                                                              CreditCard
Capital 1 Bank
Attn: Bankruptcy Dept.                                                    C
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx7920                                                  Opened 1/01/02 Last Active 8/13/10
                                                                              CreditCard
Capital 1 Bank
Attn: Bankruptcy Dept.                                                    C
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                                0.00

           1
Sheet no. _____     14 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          3,678.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                              Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 13 of 58                                                    Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




  In re         DOUGLAS MARC LANDAY,                                                                               Case No.    2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxxx1912                                                  Opened 11/01/04 Last Active 2/01/05                     E
                                                                              CreditCard                                              D

Capital 1 Bank
Attn: Bankruptcy Dept.                                                    H
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx8155                                                  Opened 5/01/03 Last Active 8/01/03
                                                                              CreditCard
Capital 1 Bank
Attn: Bankruptcy Dept.                                                    H
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                                0.00
Account No. xxxxxxxx9251                                                      Opened 4/01/02 Last Active 4/01/03
                                                                              CreditCard
Capital One
Attn: Bankruptcy                                                          W
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                                0.00
Account No. xxxxxxxx2270                                                      Opened 1/01/08 Last Active 2/08/13
                                                                              Educational
Chase
Po Box 7013                                                               C
Indianapolis, IN 46207

                                                                                                                                                        14,641.00
Account No. xxxxxxxxx3478                                                     Opened 4/01/05 Last Active 12/03/10
                                                                              ConventionalRealEstateMortgage
Chase
10790 Rancho Bernardo Rd                                                  C
San Diego, CA 92127

                                                                                                                                                                0.00

           2
Sheet no. _____     14 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                        14,641.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                              Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 14 of 58                                                    Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




  In re         DOUGLAS MARC LANDAY,                                                                               Case No.    2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxx9136                                                      Opened 3/01/02 Last Active 5/04/05                      E
                                                                              CreditLineSecured                                       D

Chase
Po Box 901039                                                             C
Fort Worth, TX 76101

                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx7853                                                  Opened 10/01/01 Last Active 3/02/05
                                                                              CreditCard
Chase
Attn: Bankruptcy Dept                                                     W
Po Box 15298
Wilmington, DE 19850
                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx2599                                                  Opened 4/01/03 Last Active 4/19/05
                                                                              CreditCard
Chase Mht Bk
Attention: Bankruptcy                                                     C
Po Box 15298
Wilmington, DE 19850
                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx0237                                                  Opened 3/01/07 Last Active 4/19/07
                                                                              CreditCard
Chase-pier1
Attn: Bankruptcy                                                          W
Po Box 15298
Wilmington, DE 19850
                                                                                                                                                                0.00
Account No. xxxxxx9955                                                        Opened 8/01/06 Last Active 10/31/08
                                                                              Lease
Chrysler Credit/TD Auto Finance
Attention: Bankruptcy                                                     H
Po Box 860
Roanoket, TX 76262
                                                                                                                                                                0.00

           3
Sheet no. _____     14 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                                0.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                              Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 15 of 58                                                    Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




  In re         DOUGLAS MARC LANDAY,                                                                               Case No.    2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxx9735                                                        Opened 8/01/02 Last Active 5/17/05                      E
                                                                              Automobile                                              D

Chrysler Financial/TD Auto Finance
Td Auto Finance                                                           C
Po Box 860
Roanoke, TX 76262
                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx5866                                                  Opened 5/01/11 Last Active 1/09/13
                                                                              CreditCard
Citibank
Attn: Centralized Bankruptcy                                              C
Po Box 20507
Kansas City, MO 64195
                                                                                                                                                        12,167.00
Account No. xxxxxxxxxxxx1514                                                  Opened 1/07/10 Last Active 7/23/10
                                                                              ChargeAccount
Citibank Usa
Citicorp Credit Services/Attn:                                            W
Centraliz
Po Box 20507
Kansas City, MO 64195                                                                                                                                           0.00
Account No. xxxxxxxxxxxx3939                                                  Opened 12/01/00 Last Active 4/09/12
                                                                              ChargeAccount
Citibank Usa
Citicorp Credit Services/Attn:                                            C
Centraliz
Po Box 20507
Kansas City, MO 64195                                                                                                                                           0.00
Account No. xxxxx2579                                                         Opened 2/01/08
                                                                              CollectionAttorney Stand Up Mri Of America
Credit Systems Intl In                                                        Az
1277 Country Club Ln                                                      H
Fort Worth, TX 76112

                                                                                                                                                            195.00

           4
Sheet no. _____     14 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                        12,362.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                              Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 16 of 58                                                    Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




  In re         DOUGLAS MARC LANDAY,                                                                               Case No.    2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxxx7259                                                  Opened 8/01/06 Last Active 1/09/13                      E
                                                                              CreditCard                                              D

Discover Fin Svcs Llc
Pob 15316                                                                 C
Wilmington, DE 19850

                                                                                                                                                        12,220.00
Account No. xxxxxxxxxxxx8383                                                  Opened 12/01/04 Last Active 1/09/13
                                                                              CreditCard
Discover Fin Svcs Llc
Pob 15316                                                                 C
Wilmington, DE 19850

                                                                                                                                                          8,562.00
Account No. xxxxxxxxxxxxx0001                                                 Opened 7/12/12 Last Active 7/12/12
                                                                              Educational
Fed Loan Serv
Pob 69184                                                                 W
Harrisburg, PA 17106

                                                                                                                                                        48,837.00
Account No. xxxxxxxxxxxxx0002                                                 Opened 7/12/12 Last Active 1/31/13
                                                                              Educational
Fed Loan Serv
Pob 69184                                                                 W
Harrisburg, PA 17106

                                                                                                                                                        22,746.00
Account No. xxxxxxxxxxxxx0004                                                 Opened 8/24/07 Last Active 1/31/13
                                                                              Educational
Fed Loan Serv
Pob 69184                                                                 W
Harrisburg, PA 17106

                                                                                                                                                        18,140.00

           5
Sheet no. _____     14 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                      110,505.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                              Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 17 of 58                                                    Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




  In re         DOUGLAS MARC LANDAY,                                                                               Case No.    2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxxxx0003                                                 Opened 8/24/07 Last Active 1/31/13                      E
                                                                              Educational                                             D

Fed Loan Serv
Pob 69184                                                                 W
Harrisburg, PA 17106

                                                                                                                                                          9,010.00
Account No. xxxx9425                                                          Opened 6/01/12 Last Active 1/09/13
                                                                              Lease
Ford Cred
Ford Credit                                                               C
Po Box 6275
Deerborn, MI 48121
                                                                                                                                                        12,779.00
Account No. xxxx0676                                                          Opened 6/01/12 Last Active 7/11/12
                                                                              Lease
Ford Cred
Ford Credit                                                               C
Po Box 6275
Deerborn, MI 48121
                                                                                                                                                        11,927.00
Account No. xxxx4702                                                          Opened 10/01/10 Last Active 7/20/12
                                                                              Lease
Ford Cred
Ford Credit                                                               H
Po Box 6275
Deerborn, MI 48121
                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx0212                                                  Opened 3/01/10 Last Active 3/02/12
                                                                              ChargeAccount
Gecrb/gap
Po Box 965005                                                             W
Orlando, FL 32896

                                                                                                                                                                0.00

           6
Sheet no. _____     14 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                        33,716.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                              Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 18 of 58                                                    Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




  In re         DOUGLAS MARC LANDAY,                                                                               Case No.    2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxxx7658                                                  Opened 4/01/11 Last Active 4/15/12                      E
                                                                              ChargeAccount                                           D

Gecrb/home Design Nhfa
C/o Po Box 965036                                                         H
Orlando, FL 32896

                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx5239                                                  Opened 8/01/09 Last Active 12/27/12
                                                                              ChargeAccount
GEMB / Old Navy
Attention: GEMB                                                           W
Po Box 103104
Roswell, GA 30076
                                                                                                                                                            845.00
Account No. xxxxxxxxxxxx9747                                                  Opened 6/01/12 Last Active 11/21/12
                                                                              ChargeAccount
Gemb/lens Crafters
Attn: Bankruptcy                                                          W
Po Box 103104
Roswell, GA 30076
                                                                                                                                                                0.00
Account No. xxxxxxxxxxxxxxxxxxx0803                                           Opened 8/01/07 Last Active 7/19/12
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                                0.00
Account No. xxxxxxxxxxxxxxxxxxx0803                                           Opened 8/01/07 Last Active 7/19/12
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                                0.00

           7
Sheet no. _____     14 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                            845.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                              Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 19 of 58                                                    Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




  In re         DOUGLAS MARC LANDAY,                                                                               Case No.    2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxx0011                                                   Opened 2/01/05 Last Active 8/10/07                      E
                                                                              Educational                                             D

Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                                0.00
Account No. xxxxxxxxx1026                                                     Opened 3/01/01 Last Active 3/18/05
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                         Unknown
Account No. xxxxxxxxx1016                                                     Opened 3/01/01 Last Active 3/18/05
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                         Unknown
Account No. xxxxxxxxx1066                                                     Opened 6/01/01 Last Active 1/01/05
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                         Unknown
Account No. xxxxxxxxx1096                                                     Opened 5/01/02 Last Active 1/01/05
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                         Unknown

           8
Sheet no. _____     14 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                                0.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                              Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 20 of 58                                                    Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




  In re         DOUGLAS MARC LANDAY,                                                                               Case No.    2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxx1086                                                     Opened 5/01/02 Last Active 1/01/05                      E
                                                                              Educational                                             D

Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                         Unknown
Account No. xxxxxxxxx1046                                                     Opened 8/01/99 Last Active 1/01/05
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                         Unknown
Account No. xxxxxxxxx1036                                                     Opened 5/01/00 Last Active 1/01/05
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                         Unknown
Account No. xxxxxxxxx1076                                                     Opened 6/01/01 Last Active 1/01/05
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                         Unknown
Account No. xxxxxxxxx1056                                                     Opened 8/01/99 Last Active 1/01/05
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                         Unknown

           9
Sheet no. _____     14 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                                0.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                              Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 21 of 58                                                    Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




  In re         DOUGLAS MARC LANDAY,                                                                               Case No.    2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxx101F                                                     Opened 3/13/01 Last Active 3/18/05                      E
                                                                              Educational                                             D

Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                                0.00
Account No. xxxxxxxxx102F                                                     Opened 3/13/01 Last Active 3/18/05
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                                0.00
Account No. xxxxxxxxx109F                                                     Opened 5/22/02 Last Active 2/09/05
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                                0.00
Account No. xxxxxxxxx108F                                                     Opened 5/22/02 Last Active 2/09/05
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                                0.00
Account No. xxxxxxxxx104F                                                     Opened 8/27/99 Last Active 2/09/05
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                                0.00

           10 of _____
Sheet no. _____    14 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                                0.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                              Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 22 of 58                                                    Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




  In re         DOUGLAS MARC LANDAY,                                                                               Case No.    2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxx103F                                                     Opened 5/11/00 Last Active 2/09/05                      E
                                                                              Educational                                             D

Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                                0.00
Account No. xxxxxxxxx107F                                                     Opened 6/29/01 Last Active 2/09/05
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                                0.00
Account No. xxxxxxxxx105F                                                     Opened 8/27/99 Last Active 2/09/05
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                                0.00
Account No. xxxxxxxxx106F                                                     Opened 6/29/01 Last Active 2/09/05
                                                                              Educational
Sallie Mae
Attn: Claims Department                                                   W
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx5164                                                  Opened 8/01/12 Last Active 1/09/13
                                                                              CreditCard
Sears/cbna
Po Box 6282                                                               H
Sioux Falls, SD 57117

                                                                                                                                                          4,133.00

           11 of _____
Sheet no. _____    14 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                          4,133.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                              Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 23 of 58                                                    Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




  In re         DOUGLAS MARC LANDAY,                                                                               Case No.    2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxx5056                                                         Opened 11/22/97 Last Active 2/28/07                     E
                                                                              ChargeAccount                                           D

Target Credit Card (TC)
C/O Financial & Retail Services                                           C
Mailstop BT P.O. Box 9475
Minneapolis, MN 55440
                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx9263                                                  Opened 4/01/04 Last Active 7/29/11
                                                                              CreditCard
Tnb-Visa (TV) / Target
C/O Financial & Retail Services                                           H
Mailstop BV P.O.Box 9475
Minneapolis, MN 55440
                                                                                                                                                                0.00
Account No. xxxxxxxxxxx2261                                                   Opened 8/24/07 Last Active 8/13/12
                                                                              Educational
Us Dept Of Education
Attn: Borrowers Service Dept                                              W
Po Box 5609
Greenville, TX 75403
                                                                                                                                                                0.00
Account No. xxxxxxxxxxx2361                                                   Opened 8/24/07 Last Active 8/13/12
                                                                              Educational
Us Dept Of Education
Attn: Borrowers Service Dept                                              W
Po Box 5609
Greenville, TX 75403
                                                                                                                                                                0.00
Account No. xxxxxx7562                                                        Opened 8/24/07 Last Active 8/13/10
                                                                              Educational
Us Dept Of Education
Attn: Borrowers Service Dept                                              W
Po Box 5609
Greenville, TX 75403
                                                                                                                                                                0.00

           12 of _____
Sheet no. _____    14 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                                0.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                              Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 24 of 58                                                    Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




  In re         DOUGLAS MARC LANDAY,                                                                               Case No.    2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxx7561                                                        Opened 8/01/05 Last Active 8/01/07                      E
                                                                              Educational                                             D

Us Dept Of Education
Attn: Borrowers Service Dept                                              W
Po Box 5609
Greenville, TX 75403
                                                                                                                                                                0.00
Account No. xxxxx5428                                                         Opened 4/01/02 Last Active 4/20/05
                                                                              Lease
Volkswagon Credit Inc
National Bankruptcy Services                                              C
9441 Lbj Freeway, Suite 250
Dallas, TX 75241
                                                                                                                                                                0.00
Account No. xxxxx8218                                                         Opened 10/18/08 Last Active 8/25/10
                                                                              AutoLease
Volkswagon Credit Inc
National Bankruptcy Services                                              C
9441 Lbj Freeway, Suite 250
Dallas, TX 75241
                                                                                                                                                                0.00
Account No. xxxxx6113                                                         Opened 4/10/05 Last Active 7/21/10
                                                                              AutoLease
Volkswagon Credit Inc
National Bankruptcy Services                                              C
9441 Lbj Freeway, Suite 250
Dallas, TX 75241
                                                                                                                                                                0.00
Account No. xxxxx1008                                                         Opened 4/01/08 Last Active 1/17/11
                                                                              Automobile
Volkswagon Credit Inc
National Bankruptcy Services                                              C
9441 Lbj Freeway, Suite 250
Dallas, TX 75241
                                                                                                                                                                0.00

           13 of _____
Sheet no. _____    14 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                                0.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                              Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 25 of 58                                                    Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




  In re         DOUGLAS MARC LANDAY,                                                                                     Case No.     2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                                                ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xxxxxx2038                                                        Opened 12/01/01 Last Active 2/28/05                            E
                                                                              FHARealEstateMortgage                                          D

Wells Fargo Hm Mortgag
8480 Stagecoach Cir                                                       C
Frederick, MD 21701

                                                                                                                                                                       0.00
Account No. xxxxxxxxxxxxx9001                                                 Opened 5/01/05 Last Active 8/03/06
                                                                              Automobile
Wffinancial
Attention: Bankruptcy                                                     C
Po Box 29704
Phoenix, AZ 85038
                                                                                                                                                                       0.00
Account No. xxxxx4795                                                         Opened 6/01/01 Last Active 7/01/04
                                                                              ChargeAccount
Wfnnb/tsa
Attention: Bankruptcy                                                     W
Po Box 182685
Columbus, OH 43218
                                                                                                                                                                       0.00
Account No. xxxxx9343                                                         Opened 8/01/96 Last Active 6/27/12
                                                                              ChargeAccount
Wfnnb/woman
Attention: Bankruptcy                                                     C
Po Box 182685
Columbus, OH 43218
                                                                                                                                                                   937.00
Account No.




           14 of _____
Sheet no. _____    14 sheets attached to Schedule of                                                                                   Subtotal
                                                                                                                                                                   937.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)              186,889.00

               Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                         Desc
                                                              Main Document
 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 26 of 58                                                           Best Case Bankruptcy
B6G (Official Form 6G) (12/07)


          a
          }
          n
          b
          d
          k
          1
          U
          {
          S
          e
          c
          x
          h
          p
          i
          r
          u
          l
          L
          G
          -
          s
          E
          t
          o
          y
          C




 In re             DOUGLAS MARC LANDAY,                                                                        Case No.      2:13-bk-03572
                   NOELLE LYNNE LANDAY
                                                                                                     ,
                                                                                   Debtors
                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.

                    Ford Cred                                                           Acct# 47739425
                    Ford Credit                                                         Opened Opened 6/01/12 Last Active 1/09/13
                    Po Box 6275                                                         Lease
                    Deerborn, MI 48121                                                  2012 Ford Escape
                                                                                        Value: $19,719
                                                                                        Reject the Lease

                    Ford Cred                                                           Acct# 47750676
                    Ford Credit                                                         Opened Opened 6/01/12 Last Active 7/11/12
                    Po Box 6275                                                         Lease
                    Deerborn, MI 48121                                                  2012 Ford Flex
                                                                                        $23,734
                                                                                        Assume the Lease




      0
                 Case 2:13-bk-03572-RJH
                continuation                              Doc
                             sheets attached to Schedule of     12 Contracts
                                                            Executory Filed 03/26/13       Entered
                                                                             and Unexpired Leases              03/26/13 20:19:29              Desc
                                                             Main Document
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                                       Page 27 of 58                                           Best Case Bankruptcy
B6H (Official Form 6H) (12/07)


          }
          b
          k
          1
          {
          S
          c
          h
          e
          d
          u
          l
          H
          -
          C
          o
          t
          r
          s




 In re          DOUGLAS MARC LANDAY,                                                                    Case No.      2:13-bk-03572
                NOELLE LYNNE LANDAY
                                                                                              ,
                                                                            Debtors
                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule Doc
               Case 2:13-bk-03572-RJH                  of Codebtors
                                                             12      Filed 03/26/13 Entered 03/26/13 20:19:29                         Desc
                                                             Main Document
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com
                                                                               Page 28 of 58                                           Best Case Bankruptcy
B6I (Official Form 6I) (12/07)
          DOUGLAS MARC LANDAY
 In re    NOELLE LYNNE LANDAY                                                                           Case No.       2:13-bk-03572
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Daughter                                                    3
                                             Son                                                         4
                                             Daughter                                                    8
Employment:                                               DEBTOR                                                   SPOUSE
Occupation
Name of Employer                     UNEMPLOYED                                              SELF-EMPLOYED
How long employed
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $            0.00
2. Estimate monthly overtime                                                                             $          0.00          $            0.00

3. SUBTOTAL                                                                                              $              0.00      $             0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $              0.00      $             0.00
     b. Insurance                                                                                        $              0.00      $             0.00
     c. Union dues                                                                                       $              0.00      $             0.00
     d. Other (Specify):                                                                                 $              0.00      $             0.00
                                                                                                         $              0.00      $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $              0.00      $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $              0.00      $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $         1,250.00       $             0.00
8. Income from real property                                                                             $             0.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $              0.00      $             0.00
11. Social security or government assistance
(Specify):                                                                                               $              0.00      $             0.00
                                                                                                         $              0.00      $             0.00
12. Pension or retirement income                                                                         $              0.00      $             0.00
13. Other monthly income
(Specify):           CONTRIBUTIONS TO HOUSEHOLD                                                          $         1,500.00       $             0.00
                                                                                                         $             0.00       $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         2,750.00       $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         2,750.00       $             0.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            2,750.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




         Case 2:13-bk-03572-RJH                   Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                     Desc
                                                  Main Document    Page 29 of 58
September     October   November        December       January        February       Total
$    2,900.00 $ 2,580.00 $ 2,895.00 $     1,850.00 $     1,400.00 $     1,250.00 $   12,875.00




    Case 2:13-bk-03572-RJH   Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29           Desc
                             Main Document    Page 30 of 58
B6J (Official Form 6J) (12/07)
          DOUGLAS MARC LANDAY
 In re    NOELLE LYNNE LANDAY                                                                 Case No.    2:13-bk-03572
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,360.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                   250.00
                   b. Water and sewer                                                                       $                    70.00
                   c. Telephone                                                                             $                     0.00
                   d. Other CABLE/INTERNET                                                                  $                   250.00
3. Home maintenance (repairs and upkeep)                                                                    $                   100.00
4. Food                                                                                                     $                 1,100.00
5. Clothing                                                                                                 $                   300.00
6. Laundry and dry cleaning                                                                                 $                    20.00
7. Medical and dental expenses                                                                              $                   250.00
8. Transportation (not including car payments)                                                              $                   375.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    75.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                 1,550.00
                   d. Auto                                                                                  $                   150.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                   410.00
                   b. Other SECOND MORTGAGE                                                                 $                   200.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                   253.28
17. Other EMERGENCY/CONTONGENCY                                                                             $                   120.00
    Other CHILDCARE                                                                                         $                   400.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 7,233.28
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 2,750.00
b. Average monthly expenses from Line 18 above                                                              $                 7,233.28
c. Monthly net income (a. minus b.)                                                                         $                -4,483.28




         Case 2:13-bk-03572-RJH            Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                            Desc
                                           Main Document    Page 31 of 58
                Expense                         September October November December
      Rent / ACC AZ Counseling                  $ 485.00 $ 485.00 $ 242.50 $      -
       Alice Leasing, LLC / Rent                                    $156.89   $350.00
                Verizon                         $ 147.33 $ 147.33 $ 147.33 $ 147.33
             Cox / wireless                        $76.00   $76.00   $76.00    $76.00
               Sparkletts                                            $70.00     $0.00
             Therapy Notes                         $59.00   $59.00
            Office Supplies                     $ 127.80
           Levengers / paper                    $ 57.00
  Best Buy / Router, surge protector            $ 103.81
          Staples / marketing                             $ 727.62
          Costco / marketing                              $ 391.72
          Kinko's / marketing                             $ 173.78
        Psychologytoday.com                     $ 29.95 $ 29.95 $ 29.95 $       29.95
           Local Splash / SEO                                      $ 298.00 $   99.00
Janina Fisher Self Hatred & Loathing Workshop             $ 126.50
           Ethics Webinar                       $ 179.00
   EMDR Consultation with Gayle                 $ 145.00 $ 290.00 $ 145.00 $ 290.00
    Networking / coffee & meals                 $ 91.01 $ 39.70
        Dunn Edwards Paint                                $ 288.29
     Painters / M & M Painting                                     $ 900.00
 ACE Hardware / keys, light switches                      $ 59.21 $ 105.66
            3 Day Blinds                                  $ 843.51
   College Hunks / moving offices                         $ 218.00




Case 2:13-bk-03572-RJH            Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29   Desc
                                  Main Document    Page 32 of 58
 January    February        Total
$     -      $    -   $      1,212.50
 $300.00     $    -   $        506.89
$ 147.33     $ 147.33 $        883.98
   $76.00    $ 76.00  $        456.00
    $0.00    $    -   $         70.00
                      $        118.00
                      $        127.80
                      $         57.00
                      $        103.81
                      $        727.62
                      $        391.72
                      $        173.78
$ 29.95 $       29.95 $        179.70
$ 99.00               $        397.00
                      $        126.50
                      $        179.00
$ 300.00              $        870.00
                      $        130.71
                      $        288.29
                      $        900.00
                      $        164.87
                      $        843.51
                      $        218.00

                        $    9,126.68




  Case 2:13-bk-03572-RJH       Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29   Desc
                               Main Document    Page 33 of 58
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                                         District of Arizona
            DOUGLAS MARC LANDAY
 In re      NOELLE LYNNE LANDAY                                                                        Case No.   2:13-bk-03572
                                                                                   Debtor(s)           Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of       33
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date March 26, 2013                                                   Signature   /s/ DOUGLAS MARC LANDAY
                                                                                   DOUGLAS MARC LANDAY
                                                                                   Debtor


 Date March 26, 2013                                                   Signature   /s/ NOELLE LYNNE LANDAY
                                                                                   NOELLE LYNNE LANDAY
                                                                                   Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                          Best Case Bankruptcy
           Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                    Desc
                                                          Main Document    Page 34 of 58
B7 (Official Form 7) (12/12)



                                                          United States Bankruptcy Court
                                                                       District of Arizona
             DOUGLAS MARC LANDAY
 In re       NOELLE LYNNE LANDAY                                                                               Case No.       2:13-bk-03572
                                                                                Debtor(s)                      Chapter        7

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $45,605.00                        2010 EMPLOYMENT INCOME
                          $34,735.00                        2011 EMPLOYMENT INCOME
                          $1,215.00                         2012 EMPLOYMENT INCOME
                          $27,035.00                        2012 SELF EMPLOYMENT INCOME




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                           Best Case Bankruptcy
           Case 2:13-bk-03572-RJH                        Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                      Desc
                                                         Main Document    Page 35 of 58
B 7 (12/12)                                                                                                                                                 2

              2. Income other than from employment or operation of business

     None     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
              during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
              each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
              petition is filed, unless the spouses are separated and a joint petition is not filed.)

                        AMOUNT                              SOURCE
                        $16,344.00                          2010 FEDERAL TAX REFUND
                        $1,204.00                           2010 STATE TAX REFUND
                        $31,686.00                          2011 FEDERAL TAX REFUND
                        $820.00                             2011 STATE TAX REFUND
                        $1,215.00                           2012 FEDERAL TAX REFUND

              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
              services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
              aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
              payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
              a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
              include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
              not filed.)

NAME AND ADDRESS                                                       DATES OF                                                        AMOUNT STILL
    OF CREDITOR                                                        PAYMENTS                              AMOUNT PAID                  OWING
Chase                                                                  1/13-3/13                               $4,080.00               $194,768.00
10790 Rancho Bernardo Rd
San Diego, CA 92127
Chase                                                                  1/13-3/13                                    $600.00              $60,445.00
10790 Rancho Bernardo Rd
San Diego, CA 92127
Ford Cred                                                              1/13-3/13                                  $1,230.00              $23,734.00
Ford Credit
Po Box 6275
Deerborn, MI 48121
ETNA                                                                   1/13-3/13                                  $4,650.00                     $0.00
PO BOX 14079                                                           MEDICAL INSURANCE
Lexington, KY 40512
MORGAN LEECH                                                           1/13-3/13                                  $1,200.00                     $0.00
                                                                       BABYSITTER

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                       DATES OF                                    PAID OR
                                                                       PAYMENTS/                                 VALUE OF              AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                           TRANSFERS                                TRANSFERS                OWING


*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
            Case 2:13-bk-03572-RJH                       Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                         Main Document    Page 36 of 58
B 7 (12/12)                                                                                                                                                 3
   None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
     RELATIONSHIP TO DEBTOR                                             DATE OF PAYMENT                     AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

   None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                 STATUS OR
AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                    DISPOSITION

   None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                        DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE             PROPERTY

              5. Repossessions, foreclosures and returns

   None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
              returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
              or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                  PROPERTY

              6. Assignments and receiverships

   None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
              this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
              joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                     TERMS OF ASSIGNMENT OR SETTLEMENT

   None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                         DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                   ORDER                    PROPERTY

              7. Gifts

   None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
              and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
              aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                             DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                     DATE OF GIFT             VALUE OF GIFT



Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                      Best Case Bankruptcy
          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                         Main Document    Page 37 of 58
B 7 (12/12)                                                                                                                                                 4

              8. Losses

   None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
              since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                     DATE OF LOSS

              9. Payments related to debt counseling or bankruptcy

   None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
              concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
              preceding the commencement of this case.

                                                                          DATE OF PAYMENT,                                AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                         OR DESCRIPTION AND VALUE
    OF PAYEE                                                                THAN DEBTOR                                      OF PROPERTY
Ariano & Reppucci, PLLC                                                2/13                                          $1,200.00
1430 E. Missouri Avenue
Suite B150
Phoenix, AZ 85014

              10. Other transfers

   None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
              transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
              filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                           AND VALUE RECEIVED

   None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
              trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY

              11. Closed financial accounts

   None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
              otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
              financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
              cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
              include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
              unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                          OR CLOSING




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                  Desc
                                                         Main Document    Page 38 of 58
B 7 (12/12)                                                                                                                                                   5

              12. Safe deposit boxes

   None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
              immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
              depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                       DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                       OF CONTENTS                    SURRENDER, IF ANY

              13. Setoffs

   None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
              commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                  AMOUNT OF SETOFF

              14. Property held for another person

   None       List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                   LOCATION OF PROPERTY

              15. Prior address of debtor

   None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
              occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
              address of either spouse.

ADDRESS                                                                NAME USED                                       DATES OF OCCUPANCY
1101 E. MARLETTE AVE                                                   DOUGLAS LANDAY                                  12/2000-1/2013
PHOENIX, AZ 85014

              16. Spouses and Former Spouses

   None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
              Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
              commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
              the community property state.

NAME

              17. Environmental Information.

              For the purpose of this question, the following definitions apply:

              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
              or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
              statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
              or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
              the Environmental Law:



Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                        Best Case Bankruptcy
          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                    Desc
                                                         Main Document    Page 39 of 58
B 7 (12/12)                                                                                                                                                  6


                                                      NAME AND ADDRESS OF                        DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                          NOTICE                        LAW

   None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
              Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                        DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                          NOTICE                        LAW

   None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
              the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
              docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                   STATUS OR DISPOSITION

              18 . Nature, location and name of business

   None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
              partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
              immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
              within six years immediately preceding the commencement of this case.

              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
              years immediately preceding the commencement of this case.

              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
              years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                   BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                         NATURE OF BUSINESS ENDING DATES
NOELLE LANDAY                   -2756                            1130 E. MISSOURI AVE            COUNSELING/PSYCHOT 8/2011-CURRENT
LLC                                                              SUITE 530                       HERAPIST
                                                                 Phoenix, AZ 85014

   None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

              19. Books, records and financial statements

   None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
              supervised the keeping of books of account and records of the debtor.



Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                        Best Case Bankruptcy
          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                    Desc
                                                         Main Document    Page 40 of 58
B 7 (12/12)                                                                                                                                                   7


NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

   None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
              of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                   DATES SERVICES RENDERED

   None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
              of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                   ADDRESS

   None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
              issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                                DATE ISSUED

              20. Inventories

   None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
              and the dollar amount and basis of each inventory.

                                                                                                          DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                      (Specify cost, market or other basis)

   None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

              21 . Current Partners, Officers, Directors and Shareholders

   None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                             PERCENTAGE OF INTEREST

   None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
              controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                          NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                              OF STOCK OWNERSHIP

              22 . Former partners, officers, directors and shareholders

   None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
              commencement of this case.

NAME                                                      ADDRESS                                                   DATE OF WITHDRAWAL

   None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
              immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                              DATE OF TERMINATION




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                     Desc
                                                         Main Document    Page 41 of 58
B 7 (12/12)                                                                                                                                                       8

              23 . Withdrawals from a partnership or distributions by a corporation

   None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
              in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
              commencement of this case.

NAME & ADDRESS                                                                                                            AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                                   OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                      VALUE OF PROPERTY

              24. Tax Consolidation Group.

   None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
              group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
              of the case.

NAME OF PARENT CORPORATION                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)

              25. Pension Funds.

   None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
              employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                              ******

                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date March 26, 2013                                                    Signature   /s/ DOUGLAS MARC LANDAY
                                                                                   DOUGLAS MARC LANDAY
                                                                                   Debtor


Date March 26, 2013                                                    Signature   /s/ NOELLE LYNNE LANDAY
                                                                                   NOELLE LYNNE LANDAY
                                                                                   Joint Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                             Best Case Bankruptcy
          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                         Desc
                                                         Main Document    Page 42 of 58
B8 (Form 8) (12/08)
                                                          United States Bankruptcy Court
                                                                        District of Arizona
            DOUGLAS MARC LANDAY
 In re      NOELLE LYNNE LANDAY                                                                           Case No.    2:13-bk-03572
                                                                                  Debtor(s)               Chapter     7


                              CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                  Describe Property Securing Debt:
 Chase                                                                             SINGLE FAMILY RESIDENCE: 1101 E. MARLETTE AVE.
                                                                                   PHOENIX, AZ 85014

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
          Other. Explain RETAIN AND CONTINUE TO MAKE REGULAR PAYMENTS (for example, avoid lien using 11 U.S.C. §
      522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                              Best Case Bankruptcy



           Case 2:13-bk-03572-RJH                        Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                         Desc
                                                         Main Document    Page 43 of 58
B8 (Form 8) (12/08)                                                                                                                      Page 2
 Property No. 2

 Creditor's Name:                                                                 Describe Property Securing Debt:
 Chase                                                                            SINGLE FAMILY RESIDENCE: 1101 E. MARLETTE AVE.
                                                                                  PHOENIX, AZ 85014

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
          Other. Explain RETAIN AND CONTINUE TO MAKE REGULAR PAYMENTS (for example, avoid lien using 11 U.S.C. §
      522(f)).

 Property is (check one):
        Claimed as Exempt                                                           Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                           Describe Leased Property:                   Lease will be Assumed pursuant to 11
 Ford Cred                                                Acct# 47739425                              U.S.C. § 365(p)(2):
                                                          Opened Opened 6/01/12 Last Active              YES              NO
                                                          1/09/13
                                                          Lease
                                                          2012 Ford Escape
                                                          Value: $19,719
                                                          Reject the Lease



 Property No. 2

 Lessor's Name:                                           Describe Leased Property:                   Lease will be Assumed pursuant to 11
 Ford Cred                                                Acct# 47750676                              U.S.C. § 365(p)(2):
                                                          Opened Opened 6/01/12 Last Active              YES              NO
                                                          7/11/12
                                                          Lease
                                                          2012 Ford Flex
                                                          $23,734
                                                          Assume the Lease




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                             Best Case Bankruptcy



           Case 2:13-bk-03572-RJH                        Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                         Desc
                                                         Main Document    Page 44 of 58
B8 (Form 8) (12/08)                                                                                                      Page 3

I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date March 26, 2013                                                   Signature   /s/ DOUGLAS MARC LANDAY
                                                                                   DOUGLAS MARC LANDAY
                                                                                   Debtor


 Date March 26, 2013                                                   Signature   /s/ NOELLE LYNNE LANDAY
                                                                                   NOELLE LYNNE LANDAY
                                                                                   Joint Debtor




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                             Best Case Bankruptcy



           Case 2:13-bk-03572-RJH                        Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29        Desc
                                                         Main Document    Page 45 of 58
                                                          United States Bankruptcy Court
                                                                       District of Arizona
             DOUGLAS MARC LANDAY
 In re       NOELLE LYNNE LANDAY                                                                              Case No.      2:13-bk-03572
                                                                               Debtor(s)                      Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  1,200.00
             Prior to the filing of this statement I have received                                        $                  1,200.00
             Balance Due                                                                                  $                       0.00

2.    The source of the compensation paid to me was:
                  Debtor              Other (specify):

3.    The source of compensation to be paid to me is:
                  Debtor              Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                        CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       March 26, 2013                                                   /s/ Christopher Ariano
                                                                              Christopher Ariano
                                                                              Ariano & Reppucci, PLLC
                                                                              1430 E. Missouri Avenue
                                                                              Suite B150
                                                                              Phoenix, AZ 85014




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
            Case 2:13-bk-03572-RJH                       Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                   Desc
                                                         Main Document    Page 46 of 58
B 201A (Form 201A) (11/12)



                                                 UNITED STATES BANKRUPTCY COURT
                                                       DISTRICT OF ARIZONA
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                     Best Case Bankruptcy
          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                    Desc
                                                         Main Document    Page 47 of 58
Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                    Best Case Bankruptcy
          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                   Desc
                                                         Main Document    Page 48 of 58
B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                                         District of Arizona
           DOUGLAS MARC LANDAY
 In re     NOELLE LYNNE LANDAY                                                                             Case No.       2:13-bk-03572
                                                                                 Debtor(s)                 Chapter        7

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
DOUGLAS MARC LANDAY
NOELLE LYNNE LANDAY                                                                X /s/ DOUGLAS MARC LANDAY                    March 26, 2013
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                        Date

Case No. (if known) 2:13-bk-03572                                                  X /s/ NOELLE LYNNE LANDAY                    March 26, 2013
                                                                                     Signature of Joint Debtor (if any)         Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                               Best Case Bankruptcy
          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                               Desc
                                                         Main Document    Page 49 of 58
                                                          United States Bankruptcy Court
                                                                         District of Arizona
           DOUGLAS MARC LANDAY
 In re     NOELLE LYNNE LANDAY                                                                            Case No.     2:13-bk-03572
                                                                                  Debtor(s)               Chapter      7




                                                                       DECLARATION


           We, DOUGLAS MARC LANDAY and NOELLE LYNNE LANDAY , do hereby certify, under penalty of perjury, that the

Master Mailing List, consisting of            4    sheet(s), is complete, correct and consistent with the debtor(s)' schedules.




Date: March 26, 2013                                                   /s/ DOUGLAS MARC LANDAY
                                                                       DOUGLAS MARC LANDAY
                                                                       Signature of Debtor

Date: March 26, 2013                                                   /s/ NOELLE LYNNE LANDAY
                                                                       NOELLE LYNNE LANDAY
                                                                       Signature of Debtor

Date: March 26, 2013                                                   /s/ Christopher Ariano
                                                                       Signature of Attorney
                                                                       Christopher Ariano
                                                                       Ariano & Reppucci, PLLC
                                                                       1430 E. Missouri Avenue
                                                                       Suite B150
                                                                       Phoenix, AZ 85014




                                                                                                                                            MML-5

Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                               Best Case Bankruptcy




          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                          Desc
                                                         Main Document    Page 50 of 58
  B22A (Official Form 22A) (Chapter 7) (12/10)
       DOUGLAS MARC LANDAY
In re  NOELLE LYNNE LANDAY                                                         According to the information required to be entered on this statement
                        Debtor(s)                                                    (check one box as directed in Part I, III, or VI of this statement):
Case Number: 2:13-bk-03572                                                                 The presumption arises.
                   (If known)
                                                                                           The presumption does not arise.
                                                                                           The presumption is temporarily inapplicable.


                              CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                        AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in Part I applies,
joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete separate statements if they
believe this is required by § 707(b)(2)(C).

                                             Part I. MILITARY AND NON-CONSUMER DEBTORS
            Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning of the
            Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
            VIII. Do not complete any of the remaining parts of this statement.
   1A
               Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in
            38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. §
            101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
            Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII.
    1B      Do not complete any of the remaining parts of this statement.
                Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
            Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the Armed
            Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after September 11,
            2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. § 901(1)) for a period of
            at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense activity and for 540
            days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate boxes and complete any
            required information in the Declaration of Reservists and National Guard Members below, (2) check the box for "The presumption is
            temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you
            are not required to complete the balance of this form, but you must complete the form no later than 14 days after the date on
            which your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case
            before your exclusion period ends.
               Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I declare
    1C      that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed Forces or the
            National Guard

                                   a.       I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                    I remain on active duty /or/
                                                    I was released from active duty on       , which is less than 540 days before this bankruptcy case was
                                   filed;

                                                OR

                                   b.     I am performing homeland defense activity for a period of at least 90 days /or/
                                          I performed homeland defense activity for a period of at least 90 days, terminating on        , which is less than
                                        540 days before this bankruptcy case was filed.




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                     Desc
                                                         Main Document    Page 51 of 58
  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                          2

                      Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
            Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
            a.   Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
            b.   Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury:
               "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the
     2         purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's Income")
               for Lines 3-11.
            c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
               ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
            d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
            All figures must reflect average monthly income received from all sources, derived during the six Column A        Column B
            calendar months prior to filing the bankruptcy case, ending on the last day of the month before
            the filing. If the amount of monthly income varied during the six months, you must divide the      Debtor's       Spouse's
            six-month total by six, and enter the result on the appropriate line.                              Income          Income

     3      Gross wages, salary, tips, bonuses, overtime, commissions.                                         $             0.00 $                0.00
            Income from the operation of a business, profession or farm. Subtract Line b from Line a and
            enter the difference in the appropriate column(s) of Line 4. If you operate more than one
            business, profession or farm, enter aggregate numbers and provide details on an attachment. Do
            not enter a number less than zero. Do not include any part of the business expenses entered on
     4      Line b as a deduction in Part V.
                                                                        Debtor                 Spouse
             a.     Gross receipts                               $           2,145.83 $                 0.00
             b.     Ordinary and necessary business expenses $               1,397.41 $                 0.00
             c.     Business income                              Subtract Line b from Line a                 $            748.42 $                 0.00
            Rents and other real property income. Subtract Line b from Line a and enter the difference in
            the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
            part of the operating expenses entered on Line b as a deduction in Part V.
     5                                                                Debtor                Spouse
             a.    Gross receipts                              $                0.00 $                0.00
             b.    Ordinary and necessary operating expenses $                  0.00 $                0.00
             c.    Rent and other real property income         Subtract Line b from Line a                 $                 0.00 $                0.00
     6      Interest, dividends, and royalties.                                                                $             0.00 $                0.00
     7      Pension and retirement income.                                                                     $             0.00 $                0.00
            Any amounts paid by another person or entity, on a regular basis, for the household
            expenses of the debtor or the debtor's dependents, including child support paid for that
     8      purpose. Do not include alimony or separate maintenance payments or amounts paid by your
            spouse if Column B is completed. Each regular payment should be reported in only one column;
            if a payment is listed in Column A, do not report that payment in Column B.                        $        1,500.00 $                 0.00
            Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
            However, if you contend that unemployment compensation received by you or your spouse was a
            benefit under the Social Security Act, do not list the amount of such compensation in Column A
     9      or B, but instead state the amount in the space below:
             Unemployment compensation claimed to
             be a benefit under the Social Security Act Debtor $            0.00 Spouse $               0.00 $               0.00 $                0.00
            Income from all other sources. Specify source and amount. If necessary, list additional sources
            on a separate page. Do not include alimony or separate maintenance payments paid by your
            spouse if Column B is completed, but include all other payments of alimony or separate
            maintenance. Do not include any benefits received under the Social Security Act or payments
            received as a victim of a war crime, crime against humanity, or as a victim of international or
    10      domestic terrorism.
                                                                       Debtor                   Spouse
             a.                                                  $                      $
             b.                                                  $                      $
            Total and enter on Line 10                                                                         $             0.00 $                0.00
    11      Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and, if
            Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).               $              2,248.42 $                 0.00



Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                  Best Case Bankruptcy
          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                              Desc
                                                         Main Document    Page 52 of 58
  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                          3

            Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line 11,
    12      Column A to Line 11, Column B, and enter the total. If Column B has not been completed, enter
            the amount from Line 11, Column A.                                                                  $                           2,248.42

                                            Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13      Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
            enter the result.                                                                                                     $        26,981.04
            Applicable median family income. Enter the median family income for the applicable state and household size.
    14      (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
             a. Enter debtor's state of residence:                AZ     b. Enter debtor's household size:           5            $        67,286.00
            Application of Section 707(b)(7). Check the applicable box and proceed as directed.
    15          The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not arise" at the
                top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                                   Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                        Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16      Enter the amount from Line 12.                                                                                        $
            Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
            Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
            dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
            spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's dependents) and the
            amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
    17      not check box at Line 2.c, enter zero.
             a.                                                                        $
             b.                                                                        $
             c.                                                                        $
             d.                                                                        $
            Total and enter on Line 17                                                                                            $
    18      Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                           $

                                      Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                                Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
            National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS National
            Standards for Food, Clothing and Other Items for the applicable number of persons. (This information is available
   19A      at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable number of persons is the number
            that would currently be allowed as exemptions on your federal income tax return, plus the number of any
            additional dependents whom you support.                                                                              $
            National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
            Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
            Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
            www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons
            who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or
            older. (The applicable number of persons in each age category is the number in that category that would currently
            be allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom
   19B
            you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in
            Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line
            c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.
                         Persons under 65 years of age                         Persons 65 years of age or older
             a1.     Allowance per person                            a2.      Allowance per person
             b1.     Number of persons                               b2.      Number of persons
             c1.     Subtotal                                        c2.      Subtotal                                           $
            Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
            Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
   20A      available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size consists of
            the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
            any additional dependents whom you support.                                                                           $



Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                  Best Case Bankruptcy
          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                              Desc
                                                         Main Document    Page 53 of 58
  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                            4

            Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
            Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
            available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of
            the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
            any additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any
   20B      debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B. Do
            not enter an amount less than zero.
             a.    IRS Housing and Utilities Standards; mortgage/rental expense $
             b.    Average Monthly Payment for any debts secured by your
                   home, if any, as stated in Line 42                               $
             c.    Net mortgage/rental expense                                      Subtract Line b from Line a.                    $
            Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
            20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21      Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
            contention in the space below:
                                                                                                                                    $
            Local Standards: transportation; vehicle operation/public transportation expense.
            You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
            vehicle and regardless of whether you use public transportation.
            Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
            included as a contribution to your household expenses in Line 8.
   22A
                  0     1       2 or more.
            If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
            Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS Local
            Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
            Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)           $
            Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
            for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   22B      you public transportation expenses, enter on Line 22B the "Public Transportation" amount from IRS Local
            Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
            court.)                                                                                                                $
            Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
            you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
            vehicles.)
                  1     2 or more.
            Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
    23      (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
            Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter
            the result in Line 23. Do not enter an amount less than zero.
             a.       IRS Transportation Standards, Ownership Costs                $
                      Average Monthly Payment for any debts secured by Vehicle
             b.       1, as stated in Line 42                                      $
             c.       Net ownership/lease expense for Vehicle 1                    Subtract Line b from Line a.                     $
            Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
            the "2 or more" Box in Line 23.
            Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
            (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    24      Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter
            the result in Line 24. Do not enter an amount less than zero.
             a.       IRS Transportation Standards, Ownership Costs                $
                      Average Monthly Payment for any debts secured by Vehicle
             b.       2, as stated in Line 42                                      $
             c.       Net ownership/lease expense for Vehicle 2                    Subtract Line b from Line a.                     $
            Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    25      state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
            security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                          $




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                    Best Case Bankruptcy
          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                Desc
                                                         Main Document    Page 54 of 58
    B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                                          5

                Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly payroll
      26        deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
                Do not include discretionary amounts, such as voluntary 401(k) contributions.                                      $
                Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
      27        life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
                any other form of insurance.                                                                                                        $
                Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
      28        pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
                include payments on past due obligations included in Line 44.                                                                       $
                Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
      29        the total average monthly amount that you actually expend for education that is a condition of employment and for
                education that is required for a physically or mentally challenged dependent child for whom no public education
                providing similar services is available.                                                                          $

      30        Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
                childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.                       $
                Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
      31        health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
                insurance or paid by a health savings account, and that is in excess of the amount entered in Line 19B. Do not
                include payments for health insurance or health savings accounts listed in Line 34.                                                 $
                Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
      32        actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
                pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health and
                welfare or that of your dependents. Do not include any amount previously deducted.                                                  $
      33        Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                                 $

                                                 Subpart B: Additional Living Expense Deductions
                                        Note: Do not include any expenses that you have listed in Lines 19-32
                Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
                the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
                dependents.
      34
                 a.         Health Insurance                                                $
                 b.         Disability Insurance                                            $
                 c.         Health Savings Account                                          $                                                       $
                Total and enter on Line 34.
                If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
                below:
                $
                Continued contributions to the care of household or family members. Enter the total average actual monthly
      35        expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
                ill, or disabled member of your household or member of your immediate family who is unable to pay for such
                expenses.                                                                                                                           $
                Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
      36        actually incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
                other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                        $
                Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
      37        Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your case
                trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
                claimed is reasonable and necessary.                                                                            $
                Education expenses for dependent children less than 18. Enter the total average monthly expenses that you
                actually incur, not to exceed $147.92* per child, for attendance at a private or public elementary or secondary
      38        school by your dependent children less than 18 years of age. You must provide your case trustee with
                documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
                necessary and not already accounted for in the IRS Standards.                                                                       $
*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                                    Best Case Bankruptcy
              Case 2:13-bk-03572-RJH                              Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                       Desc
                                                                  Main Document    Page 55 of 58
  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                          6

            Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
            expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    39      Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
            or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
            reasonable and necessary.                                                                                             $

    40      Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
            financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                           $
    41      Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                            $

                                                       Subpart C: Deductions for Debt Payment
            Future payments on secured claims. For each of your debts that is secured by an interest in property that you
            own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly Payment,
    42      and check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all
            amounts scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the
            bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the
            Average Monthly Payments on Line 42.
                  Name of Creditor                    Property Securing the Debt              Average Monthly Does payment
                                                                                                        Payment include taxes
                                                                                                                  or insurance?
              a.                                                                            $                        yes no
                                                                                                Total: Add Lines                  $
            Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence, a
            motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    43      your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
            payments listed in Line 42, in order to maintain possession of the property. The cure amount would include any
            sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
            the following chart. If necessary, list additional entries on a separate page.
                   Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
              a.                                                                              $
                                                                                                              Total: Add Lines    $
            Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    44      priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
            not include current obligations, such as those set out in Line 28.                                                    $
            Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the following
            chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

             a.       Projected average monthly Chapter 13 plan payment.                    $
    45       b.       Current multiplier for your district as determined under schedules
                      issued by the Executive Office for United States Trustees. (This
                      information is available at www.usdoj.gov/ust/ or from the clerk of
                      the bankruptcy court.)                                                x
             c.       Average monthly administrative expense of Chapter 13 case             Total: Multiply Lines a and b         $
    46      Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                            $

                                                      Subpart D: Total Deductions from Income
    47      Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                           $

                                       Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48      Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                $
    49      Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                     $
    50      Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                      $

    51      60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
            result.                                                                                                               $




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                  Best Case Bankruptcy
          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                              Desc
                                                         Main Document    Page 56 of 58
    B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                                                    7

                Initial presumption determination. Check the applicable box and proceed as directed.
                   The amount on Line 51 is less than $7,025*. Check the box for "The presumption does not arise" at the top of page 1 of this
                statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
      52
                   The amount set forth on Line 51 is more than $11,725* Check the box for "The presumption arises" at the top of page 1 of this
                statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                      The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part VI (Lines 53 through 55).
      53        Enter the amount of your total non-priority unsecured debt                                                                                    $
      54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                                        $
                Secondary presumption determination. Check the applicable box and proceed as directed.
                    The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the top of page 1
      55        of this statement, and complete the verification in Part VIII.
                   The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises" at the top
                of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                           Part VII. ADDITIONAL EXPENSE CLAIMS
      56        Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of
                you and your family and that you contend should be an additional deduction from your current monthly income under §
                707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
                each item. Total the expenses.

                         Expense Description                                                                                                     Monthly Amount
                 a.                                                                                                        $
                 b.                                                                                                        $
                 c.                                                                                                        $
                 d.                                                                                                        $
                                                                          Total: Add Lines a, b, c, and d                  $

                                                                          Part VIII. VERIFICATION
                I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
                must sign.)
                              Date: March 26, 2013                                          Signature: /s/ DOUGLAS MARC LANDAY
                                                                                                         DOUGLAS MARC LANDAY
      57                                                                                                            (Debtor)

                                  Date:       March 26, 2013                                                  Signature        /s/ NOELLE LYNNE LANDAY
                                                                                                                                NOELLE LYNNE LANDAY
                                                                                                                                        (Joint Debtor, if any)




*   Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                                              Best Case Bankruptcy
              Case 2:13-bk-03572-RJH                              Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29                                                 Desc
                                                                  Main Document    Page 57 of 58
  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                          8


                                               Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 09/01/2012 to 02/28/2013.

Line 4 - Income from operation of a business, profession, or farm
Source of Income: NOELLE LANDAY LLC
Income/Expense/Net by Month:
                          Date                                         Income                    Expense              Net
 6 Months Ago:                  09/2012                                     $2,900.00                 $1,015.90             $1,884.10
 5 Months Ago:                  10/2012                                     $2,580.00                 $3,541.89              $-961.89
 4 Months Ago:                  11/2012                                     $2,895.00                 $1,928.83               $966.17
 3 Months Ago:                  12/2012                                     $1,850.00                  $992.28                $857.72
 2 Months Ago:                  01/2013                                     $1,400.00                  $652.28                $747.72
 Last Month:                    02/2013                                     $1,250.00                  $253.28                $996.72
                      Average per month:                                    $2,145.83                 $1,397.41
                                                                                        Average Monthly NET Income:           $748.42




Line 8 - Contributions to household expenses of the debtor or dependents
Source of Income: CONTRIBUTIONS TO HOUSEHOLD
Constant income of $1,500.00 per month.




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                  Best Case Bankruptcy
          Case 2:13-bk-03572-RJH                         Doc 12 Filed 03/26/13 Entered 03/26/13 20:19:29              Desc
                                                         Main Document    Page 58 of 58
